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FILED

2nd December 2020
DEC 02 2020

United States Circuit Court for the Northern District of West Virginia U.S. DISTRICT COURT-WVND

Brian Knight v. Candice McLaughlin CLARKSBURG, WV 26301
Civil Action No. 1:20-cv-254

In response to the summons in this civil action case I formally request a leave
for extension to file response for the following reason:

The summons was delivered by registered mail to an old address and
then forwarded to my current mailing address. I did not receive the summons
in hand until Thanksgiving day which was followed by a holiday weekend. | am
currently in Orlando, Florida and have not had sufficient time te secure a
lawyer and prepare a response by the court deadline of 4th December 2020.
My request is to extend to 14th December 2020. .

This mation is being transmitted by fax on 2nd December 2020 with
the original being delivered vi

Jan

first class mail.

 
  
 

8737 Great Cove Dr.

Orlando, FL 32819

fyrepyrat3@gmail.com
304-288-0174
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| hereby certify that a true and correct copy of the foregaing motion
was transmitted to apposing counsel by fax and first class mail at the below
address on this 2nd day of. December 2020.

Danielle L. Dietrich

Strassburger and McKenna Gutnick & Gefsky
Four Gateway Center, Suite 2200

444 Liberty Avenue, Pittsburgh, PA 15222
Fax: 412-287-8264

  
